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FELICE JOHN VITI, Acting United States Attorney (#7007)
MARGOT JOHNSON, Assistant United States Attorney (#16513)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Tel. (801) 524-5682

                      IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

  UNITED STATES OF AMERICA,                      Case No. 2:25mj669 PK

         Plaintiff,
                                                 COMPLAINT
         vs.

  ADRIAN PENA-CIBRIAN,                           Magistrate Judge Paul Kohler

         Defendant.


       Before the Honorable Paul Kohler, United States Magistrate Judge for the District

of Utah, appeared the undersigned, who on oath deposes and says:

                                       COUNT I
                                    8 U.S.C. § 1326
                        Reentry of a Previously Removed Alien

       On or about May 17, 2025, in the District of Utah,

                               ADRIAN PENA-CIBRIAN,

the defendant herein, an alien who on or about January 20, 2018, was excluded, removed,

and deported from the United States, did knowingly reenter and was found in the United

States in the District of Utah, having not obtained the consent of the Secretary of the


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United States Department of Homeland Security to reapply for admission into the United

States; all in violation of Title 8, United States Code, Section 1326(a).

      This complaint is made based on an investigation consisting of the following:

   1. I, Christopher Snow, am a Special Agent with the U.S. Department of Homeland

       Security, Homeland Security Investigations (HSI), assigned to the Assistant

       Special Agent in Charge Office located in Salt Lake City, Utah. Your affiant has

       been employed as a Special Agent with HSI, since July 2004. Since being hired as

       a Special Agent with HSI, your affiant has attended and graduated from HSI

       Special Agent Training (HSISAT) at the Federal Law Enforcement Training

       Center (FLETC) in Glynco, Georgia. Prior to my employment at HSI, I was

       employed in Federal Law Enforcement for three (3) years, working as a Special

       Agent with the United States Secret Service (USSS) and seven (7) years as a local

       Police Officer and Detective with Murray, Utah Police Department. I have over 30

       years of law enforcement experience with 21 of those years working immigration

       related offenses. My education includes a Bachelor of Science in Sociology from

       the University of Utah and an Associate of Science in Criminal Justice from the

       Salt Lake Community College. Further, as a Special Agent with HSI, I am

       responsible for enforcing federal immigration and criminal statutes, including Title

       8, United States Code, Section 1326. I have received specialized training in and

       during my employment and have conducted and assisted in criminal investigations

       of Federal immigration laws.

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      2. This affidavit does not contain all the information known to me or to law

         enforcement regarding this investigation but rather contains only those facts

         believed to be necessary to obtain authorization to arrest ADRIAN PENA-

         CIBRIAN.

      3. Information developed to date as a result of my investigation and the investigation

         of others revealed the following:

         a. ADRIAN PENA-CIBRIAN is not a citizen or national of the United States. He

            is a native and citizen of Mexico.

         b. ADRIAN PENA-CIBRIAN was removed from the United States to Mexico on

            January 20, 2018.

         c. After ADRIAN PENA-CIBRIAN’s removal, he knowingly reentered the

            United States and on May 17, 2025, he was knowingly present and was found

            in Utah County, Utah.

         d. ADRIAN PENA-CIBRIAN never applied to the Attorney General or the

            Secretary of the Department of Homeland Security for permission to re-enter

            the United States after having been removed.

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      Based on the foregoing information, your affiant respectfully requests that a

warrant of arrest be issued for ADRIAN PENA-CIBRIAN for violations of 8 U.S.C.

§1326(a).
                      Digitally signed by CHRISTOPHER R
CHRISTOPHER R SNOW SNOW
                      Date: 2025.07.16 11:19:48 -06'00'

Affiant
Christopher Snow
Special Agent
Homeland Security Investigations
U.S. Department of Homeland Security

SUBSCRIBED AND SWORN to before me via video teleconference this 16th day of
July 2025.


Judge Paul Kohler
Magistrate Judge, District of Utah




APPROVED:

FELICE JOHN VITI
Acting United States Attorney


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Margot
    got Johnson
        Jo
         ohnson
Assistant United States Attorney




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